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19                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
20                               SAN FRANCISCO DIVISION
21

22   MASTEROBJECTS, INC.,                         Case No. 3:20-cv-08103-WHA

23                     Plaintiff,                 JOINT STATUS REPORT REGARDING
            v.                                    WAIVER DISPUTE
24
     AMAZON.COM, INC.,                            Judge: Hon. William Alsup
25                                                Courtroom: 12, 19th Floor
26                     Defendant.
                                                  Complaint Filed: May 5, 2020
27                                                Trial Date: October 17, 2022

28
     JOINT STATUS REPORT REGARDING                             Case No. 3:20-cv-08103-WHA
     WAIVER DISPUTE
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 1          Plaintiff MasterObjects, Inc. (“MasterObjects”) and Defendant Amazon.com, Inc.
 2   (“Amazon”), pursuant to ECF 333, jointly submit an update regarding their progress with respect to
 3
     their waiver dispute:
 4
            1.        Amazon states that shortly after the April 6, 2022 hearing on Defendant Amazon’s
 5
     “Motion for Terminating Sanctions Due To MasterObjects’ Unclean Hands,” MasterObjects
 6

 7   produced more than 175 additional formerly privileged documents. MasterObjects states that

 8   MasterObjects produced these additional documents at Amazon’s insistence as Amazon sent long

 9   lists of documents to MasterObjects representing the documents that Amazon alleged MasterObjects
10
     selectively withheld; MasterObjects produced these documents to prove Amazon’s selective waiver
11
     accusation false.
12
            2.        Thereafter, on Monday, April 18, 2022, pursuant to an order from the Discovery
13
     Master, the parties held a substantive meet and confer to resolve outstanding issues. After that meet
14

15   and confer, on the same day, MasterObjects provided select additional documents and information.

16   By April 19, 2022, the parties had resolved a large number of issues, reducing their dispute to a few
17   specific items: (a) whether two attachments to produced emails should be produced; (2) whether
18
     redactions in two redacted documents should be revealed; and (3) whether MasterObjects’ C.E.O.,
19
     Mark Smit, should sit for further deposition.
20
            3.        The parties provided various submissions to Discovery Master McElhinny, including
21

22   the submission of all produced formerly privileged documents to him for his review.

23          4.        A hearing was held before the Discovery Master on April 20, 2022, at which all

24   waiver dispute issues were resolved.
25          5.        At the conclusion of the hearing, the Discovery Master provided an oral ruling for use
26
     in providing this update, and stated that a short-written order would follow. The order will address
27
     the following:
28

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     WAIVER DISPUTE                                  -1-
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 1                    •   The Discovery Master ruled as follows: “Having reviewed the record, having
 2                        reviewed the transcript of the hearing before Judge Alsup, having paid special
 3
                          attention to the referral order, having researched [and] reviewed all of the
 4
                          privileged documents that were produced, I find nothing in this record to support
 5
                          any claims of selective withholding of privileged documents. Moreover, I don’t
 6

 7                        – I don’t actually find that that allegation was actually made by anyone [other]

 8                        than Judge Alsup raising the question. I find this to be a predictable dispute over

 9                        the scope of a – of an intentional waiver.”
10
                      •   As to two attachments to produced emails (log entries 5504 and 5509), the
11
                          Discovery Master found that the attachments should be produced and ordered
12
                          their production by April 22, 2022.
13

14                    •   As to one of the redacted documents (MO_065759), the Discovery Master found

15                        that a less redacted version of the document should be produced, which only

16                        redacts the last four words within what was previously redacted, and ordered the
17                        production of the less redacted version by April 22, 2021.
18
                      •   As to the other redacted document (MO_065803), the Discovery Master
19
                          sustained MasterObjects’ redactions.
20
                      •   As to the deposition of Mr. Smit, the Discovery Master ordered a further
21

22                        deposition, limited to 2 hours and documents produced since the close of fact

23                        discovery, to occur within the next two weeks.
24           6.      Neither party will appeal the Discovery Master’s oral ruling, or any written order that
25
     reflects the oral ruling.
26
             7.      Amazon reserves the right, after MasterObjects’ additional production of documents
27
     and the further deposition of Mr. Smit, to request leave to supplement its motion, ECF 280, to address
28

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 1   the newly obtained evidence. MasterObjects states that this issue was neither raised nor briefed

 2   before the Discovery Master, and will oppose any such motion.
 3

 4
     Dated:   April 21, 2022
 5
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     WAIVER DISPUTE                                  -3-
